         Case 1:21-cr-00092-TNM Document 115 Filed 06/16/22 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :       Case No. 1:21-cr-0092 (TNM)
       v.                                     :
                                              :
COUY GRIFFIN,                                 :
                                              :
               Defendant.                     :

                    MOTION FOR LEAVE TO FILE SUPPLEMENT TO
                    GOVERNMENT’S SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court to supplement its sentencing memorandum.

ECF No. 112. On June 16, 2022, the government received the attached letter and exhibits from the

New Mexico Office of the Secretary of State. See Attachments A and B. These attachments

constitute a criminal referral made by that office to the New Mexico Attorney General on June 15,

2022 regarding the defendant, Couy Griffin. The government requests the attached exhibits be

made part of the record in this case.

                                              Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              UNITED STATES ATTORNEY

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